Case 3:18-cv-00704-JAG Document 6 Filed 01/09/19 Page 1 of 2 PagelD# 30

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

 

MARSHA HEATH, ROBERT KEMERY, SEAN

LAWRENCE, and SCOTT ROGERS on behalf of

themselves and all similarly situated individuals,
Plaintiffs,

Vv. Civil Action No. 3:18-cv-704
DIAZ & ASSOCIATES, INC.,

Defendant.

 

 

CONSENT DECREE

THIS DAY CAME the Plaintiffs, Marsha Heath, Robert Kemery, Sean Lawrence, and
Scott Rogers, by counsel, and the Defendant, Diaz & Associates, Inc., and hereby moves this
Court to enter the this Consent Decree in the above-styled action.

UPON CONSIDERATION, of the representations of Plaintiffs’ counsel and Diaz &
Associates, Inc., for good cause shown, it is ORDERED, ADJUDGED and DECREED that the
Defendant SHALL NOT the collect, attempt to collect, resell and/or credit report any debts
purchased fiom or originated by Western Sky and/or CashCall for a consumer with a Virginia
address.

UPON CONSIDERATION, of the representations Plaintiffs’ counsel and Diaz &

Associates, Inc., and for good cause shown, it is ORDERED, ADJUDGED and DECREED that

the Complaint against Defendant, Diaz & Associates, Inc.is DISMISSED WITH PREJUDICE.
~ Fax: (804) 649-0974

Case 3:18-cv-00704-JAG Document 6 Filed 01/09/19 Page 2 of 2 PagelD# 31

Pursuant to Kokkonen vy. Guardian Life Insurance Co. of America, 511 U.S. 375 (1994),

the Court retains jurisdiction over this matter in order to enforce this Consent Decree and the

Parties’ settlement agreement.

Let the Clerk of the Court send copies of this Order to all counsel of record.

E is Seema 2207
ntered this day of ~ :

(OIP~

Kristi Cahoon Kell)-¥SB #72791
Andrew J. Guzzo, VSB #82170

Casey Nash, Esq., VSB #84261
KELLY & CRANDALL, PLC

3925 Chain Bridge Road, Suite 202
Fairfax, VA 22030

(703) 424-7572 - Telephone

(703) 591-0167 - Facsimile

E-mail: kkelly@kellyandcrandall.com

Email: aguzzo@kellyandcrandall.com

James W. Speer, (VSB# 23046)
Virginia Poverty Law Center
919 E. Main Street, Suite 610
Richmond, VA 23219

(804) 782-9430

Email: jay@vple.org

Counsel for Plaintiffs

Q) a~\
Victor Diaz, Owner \
Diaz & Associates, Inc.
Defendant

wl /,

John A. Gibney, Jr,
John AJw@tedesates District Jidge

United Siates District Court Judge. -
